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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


SUSAN RAGUSA                              : CIVIL ACTION
                                          :
             v.                           : NO. 18-3362
                                          :
LEHIGH UNIVERSITY                         :


                                  MEMORANDUM

SCHMEHL, J. /s/ JLS                                            AUGUST 6, 2019



      Plaintiff brought this action, claiming the Defendant improperly terminated

her employment because of her disability (endometrial cancer/ adrenal

insufficiency) in violation of the Americans with Disabilities Act, as amended, 42

U.S.C. § 12101, et seq. (“ADA”)(Count I), the Pennsylvania Human Relations Act,

as amended, 43 P.S. § 951 et seq. (“PHRA”) (Count II) and in response for

exercising her rights under the Family and Medical Leave Act, 29 U.S.C. § 2601, et

seq. (“FMLA”)(Count III). Defendant filed a motion to dismiss the Original

Complaint for failure to state a claim. The Court granted the motion, but allowed

Plaintiff leave to file a First Amended Complaint which she has since done.

Presently before the Court is the Defendant’s motion to dismiss the First

Amended Complaint in its entirety for failure to state a claim pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure. For the reasons that follow, the

motion is granted in part and denied in part.

      In considering a motion to dismiss pursuant to Rule 12(b)(6), the district

court should “accept all factual allegations as true, construe the complaint in the

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light most favorable to the plaintiff, and determine whether, under any reasonable

reading of the complaint, the plaintiff may be entitled to relief.” Phillips v. Cnty. of

Allegheny, 515 F.3d 224, 233 (3d Cir. 2008) (internal quotation marks and citations

omitted). “To survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167

L. Ed. 2d 929 (2007)). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. The plaintiff need not satisfy

any “probability” requirement, but must set forth “more than a sheer possibility”

that the defendant’s actions give rise to the claim. Id.

      The First Amended Complaint alleges that the Defendant hired Plaintiff in

2008 as a Lighting Coordinator and Adjunct Professor. (Am. Compl. at ¶ 14.)

During Plaintiff’s performance review for 2014, Plaintiff’s Supervisor, Josh Kovar,

told Plaintiff that she was an “expert in her field, a strong, highly valued member

of the technical services team, and a solid performer.” (Id. at ¶ 16.) Plaintiff was

diagnosed with endometrial cancer in August, 2015. (Id. at ¶ 17.) In September

2015, Plaintiff began to receive hormonal treatment therapy and soon after began

to realize she could not work on a full-time basis. (Id. at ¶¶ 19-20.) After meeting

with Defendant’s Human Resources Associate, Linda Lefever, Plaintiff was

permitted to work a reduced schedule of 35 hours per week. (Id. at ¶¶ 21-22.)

However, in December 2015, Plaintiff’s treating physician informed her that she



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was suffering from “adrenal insufficiency,” a side effect from her cancer

treatment that caused her to experience extreme fatigue, muscle weakness, and

chronic pain. (Id. at ¶ 23.) As a result, Plaintiff requested and began an FMLA-

approved medical leave of absence on January 4, 2016 which lasted until

approximately April, 2016. (Id. at ¶24.)

         In April 2016, Plaintiff informed Defendant’s Benefits Analyst, Kimberly

Drey (“Drey”), that she wished to return to work on a part-time basis. (Id. at ¶ 25.)

On May 26, 2016, Plaintiff presented Drey with a note from her doctor which

stated that Plaintiff could return to work on a part-time basis, but could not climb

or lift anything over (20) pounds and would be limited to performing “desk work.”

(Id. at ¶ 26.) Plaintiff subsequently returned to work on May 27, 2016 and

continued to work until May 31, 2016. (Id. at ¶ 27.) On that date, Drey told Plaintiff

to go home and wait for Human Resources to permit her to return to work. (Id. at

¶ 28.)

         On June 10, 2016, Defendant denied Plaintiff’s request to return on a part-

time basis with the restrictions set forth by her doctor. (Id. at ¶ 29.) Defendant told

Plaintiff that the Zoellner Arts Center where plaintiff worked as a lighting

coordinator, “could not accommodate anything less than a full-duty return to

work.” (Id. at ¶ 30.) Defendant failed to take any further steps at accommodating

Plaintiff. (Id. at ¶ 31.) At the same time, Defendant did not consider Plaintiff for a

vacant teaching position despite her being as equally qualified as the finalists.

(Id. at ¶ 32.) That position was given to a non-disabled individual. (Id. at ¶ 33.)




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       On June 21, 2016, Plaintiff informed Defendant that she believed Defendant

was discriminating against her because of her disabilities. (Id. at ¶ 34.) On June

28, 2016, Plaintiff requested that she be able to return to work on a full-time basis

with certain restrictions, including not lifting over 20 pounds, not climbing

vertical ladders, not standing or walking more than one hour at a time, and having

a non-public space in which she could rest during the day. (Id. at ¶ 35.)

       On June 29, 2016, July 7, 2016 and July 20, 2016, Plaintiff contacted Equal

Opportunity Compliance Coordinator Karen Salvemini to inquire about how to file

a complaint of discrimination. (Id. at ¶¶ 36-37.) On July 18, 2016, Plaintiff met with

Drey, Lefever and Judy Zavalydriga (“Zavalydriga”), Director of Employee

Relations to discuss returning to work with restrictions. (Id. at ¶ 38.) Defendant

did not approve of any accommodations for Plaintiff and instead informed her

that she would have to have another meeting with her supervisor, Kovar. (Id. at ¶

39.)

       On July 22, 2016, Plaintiff filed a formal complaint of disability

discrimination against the Defendant. (Id. at ¶ 40.) Plaintiff alleges that she was

made aware that Defendant did not want her to return to work and become

another “Rachel,” referring to another of Defendant’s employees that was

perceived as a burden and a bad employee after being diagnosed with cancer. (Id.

at ¶ 41.)

       On August 4, 2016, Plaintiff met with Drey, Zavalydriga, Kovar and Kovar’s

supervisor and Defendant’s Administrative Director, Andrew Cassano, to discuss

Plaintiff’s desire to return to work with certain limitations. (Id. at ¶ 42.) Following



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the meeting, Defendant agreed to allow Plaintiff to return to work on August 8,

2016 with the following restrictions and accommodations:


                   a. Working no more than forty (40) hours per week;



                   b. Limiting the amount to which she engaged in manual labor;


                   c. Devoting all of her time to her duties with Defendant's
                      Zoellner Arts Center as opposed to her teaching
                      responsibilities ;

                   d. Having a space in the Zoellner Arts Center to periodically rest
                      during the day; and

                   e. Having the opportunity to partially work from her home until a
                      suitable resting space was located for Plaintiff at the Zoellner
                      Arts Center;
(Id. at ¶ 43.)

                 The Amended Complaint alleges that Defendant almost immediately

refused to honor the agreed-upon accommodations and instead Defendant:

                      a. Required Plaintiff to work in excess of forty (40) hours per
                         week;

                      b. Required Plaintiff to engage in work which surpassed her
                         physical limitations;

                      c. Required Plaintiff to carry out her traditional teaching
                         responsibilities on top of her responsibilities at the
                         Zoellner Arts Center;

                      d. Failed to provide Plaintiff with a location on campus in
                         which she could obtain any meaningful rest during the
                         day, forcing Plaintiff, on at least on occasion, to seek rest
                         on a sofa in one of Defendant's public lobbies in front of
                         several strangers;

                      e. Indirectly forced Plaintiff to drive home during her lunch
                         break to obtain the required rest, thus depriving Plaintiff of

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                       both the actual rest she required and a meaningful lunch
                       break;

                    f. Criticized and reprimanded Plaintiff for working from home
                       while a suitable resting place on campus was being
                       determined; and

                    g. Criticized and reprimanded Plaintiff for not being able to
                       climb a ladder.
(Id. at ¶ 45.)

       In addition, Plaintiff alleges that upon her return to work in August, 2016,

she was pressured, without justification, to take a medical leave of absence, and

apply for long-term disability benefits; repeatedly and inexplicably excluded from

meetings that she had been included in prior to being diagnosed with a disability

and requiring medical leave; deliberately excluded from a high-profile project for

which she had traditionally served as team lead prior to being diagnosed with a

disability and requiring medical leave and workplace accommodations; received

a lower annual raise than she had received in previous years; unjustifiably and

inexplicably denied administrative support from her assistant for certain key

events and was told by her supervisor to “shup up” during a weekly staff meeting

in a manner in which she had never been spoken to prior to being diagnosed with

a disability and requiring medical leave and workplace accommodations. (Id. at ¶¶

46-51.)

       On November 9, 2016, Defendant informed Plaintiff that she was being

placed on an extended medical leave of absence and that she would be given a

period of seven days to apply for long-term disability benefits. (Id. at ¶¶ 52-53).

Plaintiff applied for and was granted long-term disability benefits through



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December 15, 2016, at the expiration of which she was terminated. (Id. at ¶¶ 55-

56.)

       Plaintiff alleges in her claims under the ADA and PHRA that her “actual

and/or perceived disabilities were motivating and/or determinative factors in

Defendant’s discriminatory and retaliatory treatment of Plaintiff…, including

subjecting her to a hostile work environment, failing to provide reasonable

accommodations for her disabilities, terminating her employment, and failing to

hire her into a vacant position for which she was qualified.” (Id. at ¶ 61.)

       Defendant argues Plaintiff's failure to accommodate claims under the ADA

are time-barred. The ADA incorporates the powers, remedies, and procedures

from Title VII of the Civil Rights Act of 1964. See 42 U.S.C. § 12117(a). Under Title

VII, a plaintiff must file a charge of discrimination with the EEOC “within 300 days

of an alleged discriminatory act before the plaintiff can initiate a civil suit in

federal court.” 42 U.S.C. § 2000e-5(e)(1). This 300–day statute of limitations to file

an EEOC charge begins at the denial of a request for accommodation.1

        Plaintiff alleges that she cross-filed a Charge of Discrimination with the

EEOC and Pennsylvania Human Rights Commission on April 24, 2017. (Am.

Compl. at ¶ 11.) Therefore, the 300-day period commenced 300 days prior to April

24, 2017 on June 28, 2016. Since Plaintiff alleges that Defendant denied her

request to return to work on a part-time basis on June 10, 2016, 18 days outside




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 Likewise, “[t]o bring suit under the PHRA, a plaintiff must have first filed an administrative
complaint with the PHRC within 180 days of the alleged act of discrimination.” Woodson v. Scott
Paper Co., 109 F. 3d 913, 925 (3d Cir. 1997); 43 Pa. Stat. § 959(a). Thus, any alleged act of
discrimination under the PHRA must have occurred no earlier than October 26, 2016, 180 days
prior to April 24, 2017.

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the 300-day period, her claim for a denial of her accommodation request to return

to work on a part-time basis is time-barred.

       Likewise, with respect to her failure to hire into a vacant position claim,

Plaintiff’s claim accrued between April, 2016 and June 10, 2016. Since the failure

to hire claim accrued prior to June 28, 2016, that claim is also time-barred.

      Plaintiff argues that her claim against Defendant for denying her

accommodation request to return to work part-time is not time-barred based on

the continuing violation theory. Under the continuing violation doctrine, “when a

defendant's conduct is part of a continuing practice, an action is timely so long

as the last act evidencing the continuing practice falls within the limitations

period; in such an instance, the court will grant relief for the earlier related acts

that would otherwise be time barred.” Brenner v. Local 514, United Bhd. of

Carpenters & Joiners of Am., 927 F.2d 1283, 1295 (3d Cir.1991).

      Discrete acts of discrimination, however, do not constitute a continuing

practice and therefore such acts “cannot be aggregated under a continuing

violations theory.” See O'Connor v. City of Newark, 440 F.3d 125, 127 (3d Cir.

2006) (citing National R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 122 S.Ct.

2061). O'Connor provides the following “non-exhaustive list” of discrete acts that

independently trigger the limitations period: “termination, failure to promote,

denial of transfer, refusal to hire, wrongful suspension, wrongful discipline,

denial of training, wrongful accusation.” Id. at 127. “An employer's denial of a

request for a reasonable accommodation is a discrete act of discrimination that is

an independently actionable unlawful employment practice under the



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ADA.” Mercer v. Southeastern Pennsylvania Transit Authority, 26 F.Supp.3d 432,

442 (E.D. Pa. 2014) aff'd sub nom. Mercer v. SEPTA, 608 Fed. Appx. 60 (3d Cir.

2015); 42 U.S.C. § 12112(b)(5)(A); see also Zankel v. Temple University, 245 Fed.

Appx. 196, 198–99 (declining to apply the continuing violations doctrine and

dismissing as untimely plaintiff's claims regarding denials of requests for

accommodation that occurred outside of the 300–day time-frame).

       Although Plaintiff’s claim for denial of her accommodation request to

return to work on a part-time basis is time-barred, the Court finds that her second

request for the accommodation of returning to work on a full-time basis with

certain physical restrictions that was made on June 28, 2016, which defendant

allegedly did not respond to for two months and the August 8, 2016 terms that

were agreed-upon by Defendant and then allegedly not adhered to by Defendant

are not time-barred under the ADA.2 These are discrete acts of discrimination

separate and apart from the denial of Plaintiff’s initial request for an

accommodation to return part-time.

       In her initial request for accommodation, Plaintiff was requesting to return

to work on a part time basis with a 20 pound lifting restriction and a limitation to

deskwork, but in her second request for an accommodation, that was made

within the limitations period, Plaintiff was asking to return to work on a full-time

basis with different limitations (not climbing vertical ladders, not standing or

walking for more than one hour at a time, and having nonpublic space in which

she could rest during the day). In short, Plaintiff’s second request for an


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 These claims would still be barred under the PHRA since they accrued prior to the 180-day cutoff
date of October 26, 2016.

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accommodation to return to work on a full-time basis with restrictions was not

merely a rubber stamp of her first request for accommodation to return to work

on a part-time basis and therefore, the fact that the initial request was made

outside the limitations period has no bearing on the separate request made inside

the limitations period. At the very least, the question of whether a request for an

accommodation made within the limitations period is an entirely new request or

merely a request for reconsideration of the denial of the request made outside the

limitations period is one for a reasonable jury to decide. Owens-Hart v. Howard

University, 220 F. Supp. 3d 81, 94 (D.D.C. 2016). (“Because these denied requests

could constitute new requests for accommodation, rather than requests for

reconsideration of a prior denial of accommodation, summary judgment is

inappropriate at this juncture.”)

      Defendant next argues that the allegations in Plaintiff’s First Amended

Complaint do not allege a claim under the ADA for a hostile work environment.

To state a hostile work environment claim under the ADA, the employee must

allege that “(1) [she] is a qualified individual with a disability under the ADA; (2)

she was subject to unwelcome harassment; (3) the harassment was based on her

disability or a request for an accommodation; (4) the harassment was sufficiently

severe or pervasive to alter the conditions of her employment and to create an

abusive working environment; and (5) [the employer] knew or should have known

of the harassment and failed to take prompt effective remedial action.” Walton v.

Mental Health Ass’n, of Southeastern Pa., 168 F. 3d 661, 667 (3d Cir. 1999). The

hostility of a work environment must be determined by the totality of the



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circumstances. Harris v. Forklift Sys., 510 U.S. 17, 23, 114 S.Ct. 367, 126 L.Ed.2d

295 (1993). Such circumstances may include “the frequency of the discriminatory

conduct; its severity; whether it is physically threatening or humiliating, or a mere

offensive utterance; and whether it unreasonably interferes with an employee's

work performance.” Id.

      Defendant does not contend that Plaintiff has failed to satisfy the first or

fifth elements. With respect to the second and third elements, Plaintiff alleges in

her First Amended Complaint that she was harassed when Defendant refused to

offer her any accommodations from the time of her initial request on May 26, 2016

until August, 2016. (Am. Compl. ¶¶ 28-31, 35, 38, 39, 41 and 50); when Defendant

delayed responding to her internal complaint of disability discrimination (Id. at ¶¶

42-44); after Plaintiff was finally permitted to return to work in August, 2016 with

agreed-upon restrictions, Defendant violated those restrictions by requiring

Plaintiff to work in excess of 40 hours per week, was required to engage in

physical labor, and was not given a location on campus where she could rest (Id.

at ¶¶ 44(a)-(d)); when Defendant reprimanded and criticized Plaintiff for requiring

rest during the workday (Id. at ¶ 44(e)); when Defendant forced Plaintiff to take a

medical leave of absence despite the agreement to accommodate her

limitations(Id. at ¶¶ 45-48); when Defendant reduced Plaintiff’s annual raise

following her return from medical leave (Id. at ¶ 49); when Defendant excluded

Plaintiff from meetings that she was traditionally and routinely a part of prior to

being diagnosed with a disability and requiring medical leave (Id. at ¶ 47); when

Defendant excluded Plaintiff from a high-profile project for which she traditionally



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served as a team leader prior to being diagnosed with a disability and requiring

medical leave (Id. at ¶ 48); when Defendant denied Plaintiff administrative support

from her own assistant following her August 2016 return to work (Id. at ¶ 50); and

when Plaintiff was told to “shut up” by her supervisor in front of a group of co-

workers, a manner in which she had never been spoken to prior to being

diagnosed with a disability and requiring an accommodation (Id. at ¶ 51). These

allegations certainly satisfy the second and third requirements that plaintiff must

allege unwelcome harassment and that the harassment was based on her

disability or request for an accommodation.

      While it is not clear to the Court at this stage of the proceedings that these

allegations of harassment are severe and pervasive enough to have altered her

working conditions, the Court notes that courts in this Circuit have “shown a

reluctance to dismiss a complaint at the 12(b)(6) stage when the primary

challenge to the hostile work environment claim is whether or not the conduct in

question is severe and/or pervasive.” Booker v. Nat'l R.R. Passenger Corp., 880

F.Supp.2d 575, 582 (E.D.Pa.2012) (DuBois, J.) (citing Grasty v. World Flavors,

Inc., No. 11–cv–1778, 2011 WL 3515864, at *9 n. 2 (E.D. Pa. Aug 11, 2011)).

Therefore, the Court will deny the motion to dismiss this claim on this basis.The

Defendant still has the right to file a motion for summary judgment on this issue

after discovery has been completed and a fuller record developed.

      Defendant next argues that Plaintiff’s claim for disability discrimination

under the ADA and PHRA must be dismissed because she has failed to




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adequately allege the third element of a prima facie case. i.e. that she suffered an

adverse employment action as a result of her disability.

      In order to establish a prima facie case for disability discrimination under

the ADA and PHRA, the plaintiff must show: “(1) [s]he is a disabled person within

the meaning of the ADA; (2) [s]he is otherwise qualified to perform the essential

functions of the job, with or without reasonable accommodations by the

employer; and (3) [s]he has suffered an otherwise adverse employment decision

as a result of discrimination." Taylor v. Phoenixville Sch. Dist., 184 F.3d 296, 306

(3d Cir. 1999). “Discrimination under the ADA ... includes failing to make

reasonable accommodations for a plaintiff's disabilities.” Id. Therefore, an

employer discriminates when it “does not ‘mak[e] reasonable accommodations to

the known physical or mental limitations of the individual unless the [employer]

can demonstrate that the accommodation would impose an undue hardship on

the operation of the business of the [employer].’” Id. (alterations in original)

(citing 42 U.S.C. § 12112(b)(5)(A)).

      Contrary to Defendant’s argument, the allegations in Plaintiff’s First

Amended Complaint just recited on page 11, supra, clearly allow a plausible

inference to be drawn that Plaintiff was forced onto medical leave and ultimately

terminated because of her disability or need for an accommodation. (Am. Comp.

¶¶ 43-56.) The Court finds that Plaintiff has satisfied the third element for a prima

facie case of disability discrimination under the ADA.




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      Defendant next argues that Plaintiff’s claim for retaliation under the ADA

and PHRA must be dismissed for failing to establish a causal link between the

protective activity and adverse employment action.

      To establish a prima facie case of retaliation, a plaintiff must show that: (1)

he or she engaged in a protected employee activity; (2) the employer took an

adverse employment action after or contemporaneous with the protected activity;

and (3) a causal link exists between the protected activity and the adverse action.

Weston v. Pennsylvania, 251 F. 3d 420, 430 (3d Cir. 2001).

      In her First Amended Complaint, Plaintiff asserts that she engaged in the

protected activity of requesting reasonable workplace accommodations and filing

an internal complaint of disability discrimination. Defendant contends that

Plaintiff’s filing of an internal complaint of discrimination on June 21, 2016, is too

remote in terms of temporal proximity from the date of her termination on

December 15, 2016 to permit the plausible inference that a causal link exists

between the filing of her internal complaint and her termination.

      Our Court of Appeals, however, has stated that temporal proximity is only

one factor to consider in deciding whether Plaintiff has established a causal link.

The other important factor is the existence of a pattern of antagonism in the

intervening period. See, e.g. Hussein v. UPMC Mercy Hosp., 466 Fed. Appx. 108,

112 (3d Cir. 2012) (not precedential). While a pattern of antagonism sufficient to

show retaliatory motive need not rise to the level of a hostile work environment

claim, Popko v. Pa. State Milton S. Hershey Med. Ctr., 2014 WL 3508077, at *9

(M.D. Pa. July 14, 2014) (citing Staffieri v. Nw. Human Servs., Inc., No. 12-1612,



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2013 WL 2245639, at *8 (E.D. Pa. May 22, 2013)), the employer’s alleged

antagonism must be consistent and continuous, see Wright v. Shore Mem. Hosp.,

No. 11-5583, 2013 WL 6080072, at *12 (D.N.J. Nov. 19, 2013) (collecting cases and

noting that “[c]ourts in this Circuit permit an inference of causation when there is

a consistent, continuous course of discriminatory treatment”).

       Once again, the Court refers to the allegations of the First Amended

Complaint, cited at page 11, supra which, at least at this stage of the proceedings,

raise a plausible inference of a pattern of antagonism toward Plaintiff from June,

2016 through December, 2016 that was alleged to have been based on her known

disability. That recurring pattern throughout this time period is clearly sufficient

enough to withstand a motion to dismiss.

       Turning to Plaintiff’s claim under the FMLA, Plaintiff alleges that Defendant

violated her rights “by terminating her employment for her use of and/or request

for protected medical leave.” (Am. Compl. at ¶ 81.)3

       To plead an FMLA retaliation claim, a plaintiff must show that: (1) he

invoked a right under the FMLA, (2) an adverse employment action resulted

thereafter, and (3) there is a causal link between the first two

prongs. See Lichtenstein v. Univ. of Pittsburgh Med. Ctr., 691 F.3d 294, 301-302

(3d Cir. 2012). Defendant argues that Plaintiff has not plead a causal link between

the first two elements.




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  Although Defendant argues that Plaintiff has asserted a claim for interference under the FMLA,
the Court’s reading of the Amended Complaint does not deduce such a claim and any such claim
will not be recognized in this case. Indeed, Plaintiff herself alleges that she requested and
received from Defendant 12 weeks of FMLA-approved medical leave from January 4, 2016 until
April, 2016. (Am. Compl. at ¶ 24.)

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      The Amended Complaint alleges that Plaintiff exercised her FMLA-

approved leave from January 4, 2016 until April 2016 and that she was terminated

on December 15, 2016. Defendant argues that the length of time between the

exercise of FMLA-approved medical leave and her termination destroys any

causal connection between the two events.

      However, as noted above, Plaintiff has alleged a prolonged period of

antagonism from her return to work in August, 2016, which Plaintiff alleges was,

in part, the result of her requiring medical leave. (Am. Compl. at ¶¶ 43-51.) How

much of this alleged antagonism can actually be attributed to Plaintiff requesting

medical leave can be gleaned through discovery. For now, Plaintiff has raised a

plausible inference that the actions allegedly taken by the Defendant may have

been the result of retaliation for requesting medical leave and/or returning to

work with many restrictions.

      An appropriate Order follows.




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